Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 1 of 20 Page ID #:627




                             EXHIBIT A
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 2 of 20 Page ID #:628
                                   Exhibit A



                                      BRUCE A. STROMBOM, Ph.D.
                                              Managing Principal

   Phone: (213) 896-4520                                                                   333 S. Hope Street
   Fax: (213) 623-4112                                                                             Suite 2700
   bstrombom@analysisgroup.com                                                        Los Angeles, CA 90071

   Bruce Strombom is an expert in applied microeconomics, industrial organization and finance. He
   specializes in the estimation of commercial damages, quantitative and statistical analysis, the valuation of
   privately held companies and the health care industry. He provides assistance to attorneys in all phases of
   pretrial and trial practice, prepares economic and financial models, and provides expert testimony in
   litigation and public policy matters. Dr. Strombom has conducted assessments of liability and damages in
   cases involving antitrust, intellectual property, labor and employment, securities, product defects and
   general commercial disputes.

   Prior to joining Analysis Group, Dr. Strombom was Executive Vice President of a middle-market merger
   and acquisition firm, where he managed a financial and market research organization that provided
   valuation services to over 500 privately held companies annually. Previously, he was Consulting
   Manager at Price Waterhouse, where he provided litigation support and value enhancement consulting
   services, and Senior Financial Analyst at the Tribune Company, where he evaluated capital projects and
   acquisition candidates. Dr. Strombom holds a Ph.D. in economics from the University of California,
   Irvine, and a B.A. in economics from San Jose State University.

   EDUCATION

   Ph.D.                 Economics, University of California, Irvine
                         Fields: Finance and Industrial Organization
                         Thesis: Switching Cost, Price Sensitivity and Health Plan Choice

   B.A.                  Economics, San Jose State University, San Jose, CA

   PROFESSIONAL EXPERIENCE

   2004 – Present        Managing Principal, Analysis Group, Inc., Los Angeles, CA

   1993 – 2004           Senior Associate and Vice President, Analysis Group, Inc., Los Angeles, CA

   1992                  Regional General Manager, Prodata, Inc., Sacramento, CA

   1985 – 1991           Executive Vice President, Geneva Business Research Corp., Irvine, CA

   1983 – 1985           Manager of Consulting Services, Price Waterhouse, Newport Beach, CA

   1981 – 1983           Senior Financial Analyst, Tribune Newspapers West, Woodland Hills, CA
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 3 of 20 Page ID #:629
                                                                                      Bruce A. Strombom, page 2


   SELECT CASE ASSIGNMENTS

   •   State Pipe and Supply, Inc. v. Coutinho & Ferrostal Inc.
       United States District Court, Central District of California
       Calculate damages (a) to the plaintiff from the failure of a steel pipe supplier to deliver products as
       contracted and (b) to the defendant under a counter-claim assuming proper mitigation (expert report
       and deposition).

   •   Hansen Beverage Company v. Vital Pharmaceuticals, Inc.
       United States District Court, Southern District of California
       Evaluate damages under the Lanham Act from alleged false advertising in the energy drink and
       energy shot markets (expert report and deposition).

   •   In re General Motors OnStar Litigation
       United States District Court, Eastern District of Michigan
       Assess whether common proof exists of injury to all members of the putative class and whether
       damages can be calculated on a class-wide basis without individual inquiry (expert report and
       deposition).

   •   Campbell v. First American Title Insurance Company, Inc.
       United States District Court, District of Maine
       Review and critique the statistical sampling method used by plaintiffs’ expert to estimate the
       frequency of overcharges for title insuance policies issued in refinance transactions (expert report).

   •   MVU Investors LLC v. General Electric Corporation
       United States District Court, Central District of California
       Estimate damages from the alleged breach of an agreement to purchase a patent portfolio involving
       MRI technology (expert report).

   •   Larry Plancich v. United Parcel Service, Inc.
       Superior Court of California, County of San Bernardino (testimony at trial)
       Ben Lopez v. United Parcel Service, Inc.
       United States District Court, Northern District of California (declaration)
       Daniel Kline v. United Parcel Service, Inc.
       United States District Court, Northern District of California (declaration)
       Gerald Shoemaker v. United Parcel Service, Inc.
       United States District Court, District of Idaho (declaration)
       Analyze time records to determine whether the FLSA Motor Carrier Exemption applied in these wage
       and hour matters.

   •   Rajashree Karwa v. Madison Tyler Holdings, LLC
       Arbitration Before JAMS
       Rebut damages claimed by plaintiff related to her termination and removal as a management member
       of Madison Tyler Holdings without sufficient cause (expert report and deposition).

   •   Joan Ned-Sthran v. Methodist Hospitals of Dallas et al.
       United States District Court, Northern District of Texas
       Evaluate claims of breach of fiduciary duty and damages in ERISA case involving alleged excessive
       charges for employees’ share of health insurance premiums (expert report).



                                                         2
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 4 of 20 Page ID #:630
                                                                                      Bruce A. Strombom, page 3


   •   Raffone v. First American Title Insurance Company, Inc.
       Circuit Court, Nassau County, Florida
       Assess the feasibility of using the company’s electronic data to determine whether consumers were
       entitled to, but did not receive, discounted prices on a class-wide basis (expert report).

   •   Oncure Medical Corporation v. Mission Hospital Regional Medical Center
       Superior Court of California, County of Orange
       Estimate damages suffered by a radiation therapy provider from the breach of a noncompete
       agreement and provide assistance in mediation.

   •   Classic Concepts v. Linen Source, Inc.
       United States District Court, Central District of California
       Estimate damages related to a claim of copyright infringement (expert report and testimony at trial).

   •   David Salomon v. Michael Gould et al.
       Arbitration before JAMS
       Review two competing valuations of a securities trading firm engaged in arbitrage in exchange-listed
       equities, fixed-income products and derivatives using proprietary algorithms and electronic trade
       execution software (testimony at arbitration).

   •   First American Corporation
       Led several assignments including preparation of expert reports evaluating competition in markets for
       title insurance and real estate closing services, assessing variation in real estate conveyance practices
       across markets and evaluating proposed changes in title insurance regulation.

   •   Vitascan Partners v. G.E. Healthcare Financial Services
       Superior Court of California, County of Santa Barbara
       Evaluate claims that poor performance of EBT scanners caused the failure of plaintiffs’ business and
       estimate damages (deposition and testimony at trial).

   •   New World TMT, Ltd. v. PrediWave Corp., et al.
       Superior Court of California, County of Santa Clara
       Evaluate prices of SDRAM chips and calculate damages from investments, purchases and advances
       made by New World when a cable television venture in China failed (expert report and deposition).

   •   Johnette C. Alexander et al. v. Kia Motors America, Inc. et al.
       Superior Court of California, County of Orange
       Assess damages suffered by class members caused by alleged defective rear seat belt systems in the
       Kia Sephia (deposition and testimony at trial).

   •   Confidential Assignment - Predatory Mortgage Lending
       Consulting assignment involved the analysis of the loan pricing, underwriting and sales practices of a
       major subprime mortgage originator to evaluate claims of predatory lending.

   •   Memory Card International v. Fry’s Electronics, Inc., et al.
       California Superior Court, County of Orange
       Estimate damages caused by alleged misappropriation of trade secrets related to computer memory
       devices (expert report).




                                                        3
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 5 of 20 Page ID #:631
                                                                                       Bruce A. Strombom, page 4


   •   In re September 11 Litigation
       United States District Court, Southern District of New York
       Led a case team that supported Academic Affiliate in calculating damages to the 99-year master
       leasehold interests held by Silverstein Properties from destruction of World Trade Center Towers
       One, Two, Four and Five on 9/11.

   •   Fredrick W. Penney et al. v. CLC, Inc.
       Arbitration before JAMS
       Estimate damages suffer by law firms from failure of a prepaid legal services plan to refer members to
       contracted legal network (deposition and testimony at arbitration).

   •   EMC Mortgage Corporation v. Ameriquest Mortgage Corporation
       District Court of Denton County, Texas 16th Judicial District
       Support Academic Affiliate in preparing expert report analyzing how trends in residential real estate
       prices, loan repurchase obligations and developments in the securities markets interacted to force the
       closure of many subprime lenders.

   •   Nevada Attorney General - Health Plan Merger
       Retained by a state attorney general to prepare an expert report and testify concerning market
       definition and the impact of a proposed health plan merger on competition in health insurance
       markets. Evaluate possible monopsony power in the market for physician services.

   •   Denise P. Edwards v. First American Corporation, et al.
       United States District Court, Central District of California
       Estimate the fair market value of a minority interest in a title insurance agency in a class action
       involving the claimed violation of RESPA (expert report).

   •   In re Managed Care
       United States District Court, Southern District of Florida
       Provide expert support to a large commercial health plan in a dispute involving claims adjudication
       practices, including the use of automated claims review and editing software, and prepare detailed
       analyses of over 100 million fee-for-service claims.

   •   Microsoft Corp. – Private Antitrust Litigations
       Provide assistance to counsel related to potential overcharges from anticompetitive conduct in
       markets for PC operating system and application software. Estimated damages exposure in an
       antitrust action brought by Netscape for alleged anticompetitive conduct in the market for internet
       browsers.

   •   Conrad P. Lee Company, et al. v. EPS Solutions Corp., et al.
       Arbitration before JAMS
       Evaluate factors leading to the failure of a professional services firm, value five privately held
       companies and estimate damages resulting from non-disclosures in a roll-up transaction (expert
       reports, deposition and testimony at arbitration).

   •   Sunset Drive Corporation v. City of Redlands
       United States District Court, Central District of California
       Prepare financial projections and estimate damages suffered by a developer when defendant blocked
       construction of a low to moderate income residential development (expert report and deposition).



                                                         4
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 6 of 20 Page ID #:632
                                                                                    Bruce A. Strombom, page 5


   •   Marshall Hospital v. Eliot R. Drell, M.D., et al.
       Arbitration before JAMS
       Estimate the value of an Ambulatory Surgery Center and calculate lost profits from termination of a
       joint venture between a hospital and medical group (deposition and testimony at arbitration).

   •   City of Los Angeles
       Consent Decree with U.S. Department of Justice
       Evaluate claims of racial profiling by LAPD officers using advanced statistical techniques and data
       on motor vehicle and pedestrian stops (expert report).

   •   In re Quanex Corporation and Affiliated Subsidiaries
       United States Tax Court
       Assess the economic substance and business purpose of a transaction establishing a special purpose
       subsidiary (expert report and testimony at trial).

   •   California State Auditor
       Several assignments including a) review of the financial status and future prospects of the Los
       Angeles County Department of Health Services b) evaluation of the merger of UCSF Medical Center
       and Stanford Health Services to access the economic rationale and determine the benefits of
       integration and c) review of a decision by CalPERS to limit the hospital network available to health
       plan enrollees.

   •   Regina Little et al. v. Kia Motors America, Inc. et al.
       Superior Court of New Jersey – Law Division Union County (expert report and testimony at trial);
   •   Maria Santiago, et al. v. Kia Motors America, Inc. et al.
       Superior Court of California, County of Orange (deposition); and
   •   Shamell Samuel-Bassett, et al. v. Kia Motors America, Inc. et al.
       Pennsylvania Court of Common Pleas, Philadelphia County (expert report and testimony at trial)
       Estimate excess depreciation of vehicle and other damages suffered by class member as the result of
       an allegedly defective braking system in the Kia Sephia.

   •   Peter Vagenas, et al. v. Demetrios Kefallinos, et al.
       Arbitration before ADR Services, Inc.
       Value a fast-food restaurant chain, rebut plaintiffs’ damages analysis and estimate damages from
       alleged infringement of trademark/trade dress (deposition and testimony at arbitration).

   •   Pacific Coin Management v. BR Telephony Partners, et al.
       California Superior Court, County of Los Angeles
       Estimate damages suffered by the buyer of a pay telephone company from the seller’s failure to
       disclose information allegedly pertinent to the value of the company (expert report, deposition and
       testimony at trial).

   •   Bell and Associates, Inc. v. Fidelity National Information Solutions, Inc., et al.
       Superior Court of California, County of Orange
       Estimate damages caused by the breach of a joint venture agreement in a start-up internet-based
       business enterprise (expert report and deposition).




                                                       5
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 7 of 20 Page ID #:633
                                                                                     Bruce A. Strombom, page 6


   •   Janice Millius et al. v. Los Angeles Unified School District
       Superior Court of California, County of Los Angeles
       In this case seeking recovery of unpaid wages and benefits, calculated the difference in cost between
       bus service provided by district employees and service provided by independent third party vendors
       (expert report).

   •   Health Net, Inc. v. State Department of Health Services, et al.
       Superior Court of California, County of Sacramento
       Estimate damages suffered by Health Net from the State’s failure to properly allocate MediCal
       managed care enrollees to the health plan (deposition).

   •   John Muir Medical Center v. Health Net, Inc.
       Arbitration before JAMS
       Evaluate whether inflation in hospital charges exceeded the amount allowed in a provider services
       contract (deposition).

   •   Horowitz Limited Partnership I v. Deloitte and Touche, et al.
       American Arbitration Association (expert report and testimony at arbitration);
   •   James Holden and Christine Holden v. Deloitte and Touche, et al.
       American Arbitration Association (expert reports, deposition and testimony at arbitration); and
   •   Victor Arias, et al. v. Deloitte and Touche, et al.
       American Arbitration Association (expert reports, deposition and testimony at arbitration)
       Assess loss causation issues, value eight privately held companies and estimate damages resulting
       from non-disclosures in a roll-up transaction involving over thirty professional service companies.

   •   Sutter Health v. Health Net, Inc.
       American Arbitration Association
       Assess the reasonableness of a hospital’s billed charges during contract negotiations with a health
       plan (expert report and testimony at arbitration).

   •   Mark Ford et al. v. Bimbo Bakeries USA, Inc., et al.
       Superior Court of California, County of Los Angeles
       Estimate damages suffered by independent distributors in a contract dispute with a large commercial
       bakery (deposition).

   •   Impact Management Consulting v. National Scrip Center
       Arbitration before JAMS
       Estimate lost profits from the breach of an exclusive marketing agreement (expert report).

   •   Robert Kahn v. Financial Management Advisors, Inc.
       Arbitration before JAMS
       Evaluate the equivalence of shares in an S-corporation with membership units in a majority owned
       subsidiary limited liability corporation (expert report and testimony at arbitration).

   •   Kan Di Ki, Inc. v. Timothy B. Ferrigan, et al.
       Superior Court of California, County of Fresno
       Estimate damages from breach of a non-solicitation agreement associated with the sale of a mobile
       radiology company (expert report and deposition).




                                                        6
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 8 of 20 Page ID #:634
                                                                                     Bruce A. Strombom, page 7


   •   Gary M. Kawesch, M.D. Inc. v. Antione L. Garabet, M.D., Inc., et al.
       United States District Court, Northern District of California
       Estimate damages resulting from trademark/trade dress infringement by a laser eye surgery provider
       (expert reports).

   •   Consumer Justice Center, et al. v. Brother Industries, Inc., et al.
       Superior Court of California, County of Orange
       Develop, implement and analyze a consumer survey to determine whether product advertising misled
       consumers about product features.

   •   In re the Marriage of Downey
       California Superior Court, County of Orange
       Value a manufacturer of commercial and general aviation aircraft cabin interior products (expert
       report and deposition).

   •   Western Filter Corporation v. Vickers Inc.
       United States District Court, Central District of California
       Assess damages resulting from the breach of an alliance agreement involving the sales and marketing
       of industrial hydraulic equipment (expert report and testimony at arbitration).

   •   California Food Plan, Inc. v. Robert Size, et al.
       California Superior Court, County of Orange
       Value a direct marketing food retailer and analyze alleged excess compensation under consulting
       agreement (expert report and deposition).

   •   SEC v. Henry Yuen, et al.
       United States District Court, Central District of California, Western Division
       Provide consulting support on liability issues related to revenue recognition and market acceptance of
       a new interactive programming guide offered by Gemstar-T.V. Guide International.

   •   Ticketmaster LLC v. StubHub, Inc.
       Superior Court of California, County of Los Angeles
       Retained by defendant to evaluate damages from the sale of blocks of “artist hold tickets” on
       StubHub’s internet-based marketplace.

   •   Unilab Corporation v. Westcliff Medical Laboratories
       California Superior Court, County of Los Angeles
       Estimate damages associated with the acquisition of a medical testing laboratory.

   •   The Commissioner of Corporations of the State of California v. Western Dental Services, Inc.
       California Superior Court, County of Orange
       Support Academic Affiliate in evaluating the statistical sampling methodology used by the
       Department of Corporations to assess dental service quality.

   •   Chinyun Kim v. The Grover Coors Trust, et al.
       District Court, Jefferson County, Colorado
       Provide analytic support to an Academic Affiliate in the valuation of convertible preferred stock in a
       financial distressed packaging materials manufacturer.




                                                        7
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 9 of 20 Page ID #:635
                                                                                        Bruce A. Strombom, page 8


   •   In re: FedEx Ground Package System, Inc., Employment Practices Litigation
       United States District Court, Northern District of Indiana
       In this case involving the alleged misclassification of drivers as independent contractors, led case
       team supporting two Academic Affiliates who analyzed the functions performed by FedEx drivers,
       the economic relationships between FedEx, the drivers and customers of FedEx, and transactions
       involving the sale of routes by drivers.

   •   Beverly Kanawi, et al. v. Bechtel Corporation
       United States District Court, Central District of California
       Case team leader in rebutting analyses of seven opposing experts in ERISA case involving claims that
       401(k) plan sponsor breached fiduciary duties, plan fees were excessive and investment options were
       imprudent.

   •   Eagle Real Estate Group, LLC et al., v. Kenneth R. Melton, et al.
       Superior Court of California, County of Orange
       Support Academic Affiliate in the valuation of multifamily residential properties and estimation of
       damages resulting from breach of a partnership agreement.

   •   MedImmune, Inc., v. Centocor, Inc., et al.
       United States District Court, District of Maryland
       Support an Academic Affiliate in evaluating whether the monoclonal antibody product, Synagis, was
       commercially successful and whether the patented technology at issue contributed to that success.

   •   Cost Shifting in Hospital Services
       For a consortium of community hospitals, compare hospital reimbursement rates paid by government
       payers (Medicare, Medicaid and County Indigent Programs) with those paid by commercial health
       plans and estimate the impact of “cost shifting” on health plan premiums and enrollment.

   •   Gray v. ODS Technology, LP, et al.
       United States District Court, Southern District of Florida
       Value an option to acquire an equity interest in an internet gaming enterprise.

   •   Wichita Clinic, P.A., v. Columbia/HCA Healthcare Corporation
       United States District Court, District of Kansas
       Support Academic Affiliate in economic analysis and evaluation of the alleged monopolization of
       hospital services market.

   •   Edison Electric Institute
       Prepare a white paper on the use of derivative securities to hedge risk in the electric utility industry.


   SELECTED PAPERS AND PRESENTATIONS

   “Statistical Analyses in Proactive Audits and Employment Litigation,” presented at a Webinar continuing
   education forum for attorneys sponsored by Analysis Group, Inc. May 20, 2009.




                                                          8
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 10 of 20 Page ID
                                   #:636
                                                                                 Bruce A. Strombom, page 9


“The Subprime Mortgage Crisis and Disclosures: What Went Wrong?” presented at a Webinar continuing
education forum for attorneys sponsored by Analysis Group, Inc., July 29, 2008

“The Subprime Mortgage Crisis and Disclosures: What Went Wrong?” presented at a continuing
education forum for attorneys sponsored by Analysis Group, Inc., June 24, 2008, San Francisco, CA.

“Subprime Litigation: A Survival Guide,” presented at Institutional Investor Legal Forum Summer
Roundtable, June 18, 2008, Santa Monica, CA.

“Subprime Lending Litigation,” Program Co-chair at a continuing education forum for attorneys
sponsored by CLE International, May 8 and 9, 2008, Los Angeles, CA.

“Reductions in Force: Strategies to Minimize Litigation Risk in Downsizing,” presented at a continuing
education forum for attorneys sponsored by K&L Gates, January 17, 2008, New York, NY.

“Investigation of Racial Profiling by the LAPD – Pedestrian and Motor Vehicle Post-Stop Data Analysis
Report,” City of Los Angeles, July 2006.

“An Assessment of Competition in California Title Insurance and Escrow Markets,” with Bruce Stangle,
report prepared for First American Title Insurance Company, August 30, 2006.

“Evaluation of Proposed Regulations for the California Title Insurance and Escrow Industry,” with Bruce
Stangle, report prepared for First American Title Insurance Company, August 30, 2006.

“Competition and Title Insurance Rates in California,” with Bruce Stangle, report prepared for First
American Title Insurance Company, January 23, 2006.

“Competition and Title Insurance Prices in California,” report and presentation to the National
Association of Insurance Commissions (NAIC), Title Insurance Working Group, June 2006, Washington
DC.

“Switching Cost, Price Sensitivity and Health Plan Choice,” Journal of Health Economics 21, January
2002, p. 89-116.

“Risk Selection Caused by the Correlation of Health Status and Sensitivity to Price,” Research in Health
Care Financial Management Symposium, August 2001, Best Research Paper Award.

“Do Firms That Repurchase Their Own Shares Earn Abnormal Returns?” Analysis Group/Economics,
Working Paper, December 1999.

“Health Status and Consumers’ Willingness to Switch Health Plans,” American Public Health
Association, Annual Meeting, October 1999, Chicago, IL.

“Risk Selection in a Setting of Managed Competition,” Western Economics Association, Annual
Conference, July 1999, San Diego, CA.

“Form of Ownership and the Exit Decision, Hospital Closures in California,” UC Irvine, Department of
Economics, Working Paper, February 1998.




                                                    9
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 11 of 20 Page ID
                                   #:637
                                                                             Bruce A. Strombom, page 10


“Policy Options for Reducing Growth in Medicaid Spending for Long-term Care Services,” Pfizer, Inc.,
Health Care Legislation Conference, May 1997, Irvine, CA.

“Regulation of Provider Networks that Bear Insurance Risk,” Health Care in Louisiana: Issues and
Answers, January 1997.




                                                  10
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 12 of 20 Page ID
                                   #:638




                           EXHIBIT B
 Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 13 of 20 Page ID
                                    #:639

                                             Sweet v. United Parcel Service, Inc.
                                                            Exhibit B
                              Summary of Motor Carrier Act Exemption Data Analysis
                                     On-Road Supervisor Employment Period




                                                                          [1], [2]
                                                       Weekly Analysis
                Total Number of Work Weeks in Period-at-Issue                                                    205


                Total Number of Unique Weeks During Which Plaintiff Drove a Vehicle Weighing
                                                                                                                  63
                10,001 Pounds or More and Delivered or Picked-up At Least One Package

                    As a Percentage of Total Number of Work Weeks in Period-at-Issue                             31%




                                                       Monthly Analysis [1], [3]
                Total Number of Months in Period-at-Issue                                                         49


                Total Number of Unique Months During Which Plaintiff Drove a Vehicle Weighing
                                                                                                                  31
                10,001 Pounds or More and Delivered or Picked-up At Least One Package

                    As a Percentage of Total Number of Months in Period-at-Issue                                 63%




Notes:
[1]
    This analysis assumes the following dates of employment based on Ms. Sweet's deposition testimony: January 16, 2004 to
March 15, 2006; June 16, 2006 to February 28, 2007; and June 29, 2009 to June 30, 2010 (Period-at-Issue).
[2]
    Weeks start on Sunday and end on Saturday. Partial weeks are each counted as one week. Ms. Sweet is assumed here not to
have taken any vacation.
[3]
      Partial months are each counted as one month. Ms. Sweet is assumed here not to have taken any vacation.

Sources:
UPS Equipment Detail Reports (03_Pacific Region Pkg Cars_CA Final.xls, CA_Package_Vans_2005-2007.xls,
UPS_Vehicles_Over_10000 _Pounds_v1.XLS, UPS_Vehicles_Under_10000_Pounds_v1.XLS ),
UPS_Sweet – N Sweet GTS 2009 to present.xls(65117614_1).xls,
N Sweet CRS.xls,
N Sweet GTS.xls,
Declaration of Julie Senaga, July 1, 2010, and
Deposition of Nancy Sweet, March 24, 2009.




                                                                                                                ANALYSIS GROUP, INC.
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 14 of 20 Page ID
                                   #:640




                           EXHIBIT C
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 15 of 20 Page ID
                                   #:641

                                           Sweet v. United Parcel Service, Inc.
                                                         Exhibit C
                                       Motor Carrier Act Exemption Data Analysis


                                                                                                     [1]
                   PTE/GTS and Automotive Inventory System Data While Working as an On-Road Supervisor

                                                                                                  Vehicle Weight Greater Than or
                   Week End     Day of      Package       Package                                   Equal to 10,001 Pounds &
          Month     Date [2]    Week        Deliveries    Pick-Ups             Vehicle[3]            Deliver/Pick-up Packages
                                                                          ID           Weight     Unique Weeks   Unique Months
     1    Jan-04   01/31/04        3             34           0          50404         15,000            YES          YES
     2    Jan-04   01/31/04        4              3           0          50404         15,000
     3    Feb-04   02/14/04        5             14           0          50404         15,000            YES          YES
     4    Feb-04   02/14/04        6             10           0          50404         15,000
     5    Feb-04   02/28/04        2             31           0          59533         17,000            YES
     6    Mar-04   03/06/04        2             77          20          50404         15,000            YES          YES
     7    Mar-04   03/06/04        3             22           0          75594          5,300
     8    Mar-04   03/06/04        4             97           0         103616         20,000
     9    Mar-04   03/06/04        5             12           0          50404         15,000
     10   Mar-04   03/13/04        4             14           0          50404         15,000            YES
     11   Mar-04   03/13/04        5             43          72          74249         18,000
     12   Mar-04   03/20/04        2             23           0          50404         15,000            YES
     13   Mar-04   03/20/04        3             43         103          50404         15,000
     14   Mar-04   03/20/04        4             12           0          50404         15,000
     15   Mar-04   03/20/04        5             42           0          50404         15,000
     16   Mar-04   03/20/04        6             19           0          50404         15,000
     17   Mar-04   03/27/04        5              6           0          50404         15,000            YES
     18   Mar-04   03/27/04        6             68           0          42517         17,000
     19   Mar-04   04/03/04        2             93           2          50404         15,000            YES
     20   Mar-04   04/03/04        3             18           0          50404         15,000
     21   Mar-04   04/03/04        4             63           0          50404         15,000
     22   Apr-04   04/03/04        5            109           0          45463         15,000                         YES
     23   Apr-04   04/03/04        6            130           1          42574         17,000
     24   Apr-04   04/10/04        2             53           0          50404         15,000            YES
     25   Apr-04   04/10/04        3             72           0         109968         20,000
     26   Apr-04   04/10/04        4            183          25          74245         18,000
     27   Apr-04   04/10/04        5             45           0          50404         15,000
     28   Apr-04   04/17/04        2             61           1          51020         15,050            YES
     29   Apr-04   04/17/04        3             41           0          50404         15,000
     30   Apr-04   04/17/04        4            115           0          42574         17,000
     31   Apr-04   04/17/04        5            176           3         136341         21,440
     32   Apr-04   04/24/04        2             19           0          50404         15,000            YES
     33   Apr-04   04/24/04        3             82          48          45463         15,000
     34   Apr-04   04/24/04        6             70           1         105617         20,000
     35   Apr-04   05/01/04        2             32           0          59604         17,000            YES
     36   Apr-04   05/01/04        3             22         307          45463         15,000
     37   May-04   05/08/04        5             13           0          50404         15,000            YES          YES
     38   May-04   05/22/04        3             94           2          50404         15,000            YES
     39   May-04   05/22/04        4             51           0          59603         17,000
     40   May-04   05/22/04        5              7           0          50404         15,000
     41   May-04   05/22/04        6             50           0          59604         17,000
     42   May-04   05/29/04        2            136          82         136283         21,440            YES
     43   May-04   05/29/04        6            141           0         314448          8,000
     44   Jun-04   06/05/04        3             22           0          74249         18,000            YES          YES
     45   Jun-04   06/05/04        6             18          11          50404         15,000
     46   Jun-04   06/12/04        3             34          15          58021         17,000            YES
     47   Jun-04   06/12/04        5             21           0          50404         15,000
     48   Jun-04   06/12/04        6             36           0          50404         15,000
     49   Jun-04   06/26/04        2              4           0          50404         15,000            YES
     50   Jul-04   07/03/04        5             74          20         103737         20,000            YES          YES
     51   Jul-04   07/10/04        4            146          93          58806         17,000            YES
     52   Jul-04   07/10/04        6            127           5          58037         17,000
     53   Jul-04   07/17/04        3             42           0          50404         15,000            YES
     54   Aug-04   08/14/04        2            151           0         105681         20,000            YES          YES
     55   Aug-04   08/14/04        3            141           0         650001         14,500
     56   Aug-04   08/14/04        6             84           0         137454         21,440
     57   Aug-04   08/21/04        5             28           0          50404         15,000            YES
     58   Aug-04   08/21/04        6            160         290         109950         20,000
     59   Sep-04   09/04/04        4             26           0         650001         14,500            YES          YES
     60   Sep-04   09/04/04        5             13           0         650001         14,500
     61   Sep-04   09/11/04        5             40           0          50404         15,000            YES
     62   Sep-04   09/18/04        3             44          89          50404         15,000            YES
     63   Sep-04   09/18/04        6             31           0          50404         15,000
     64   Oct-04   10/09/04        4             33           3          50404         15,000            YES          YES
     65   Nov-04   11/20/04        2              0          48         139602         23,500            YES          YES
     66   Dec-04   12/04/04        6             36           0          50404         15,000            YES          YES
     67   Dec-04   12/11/04        2            661          85          50404         15,000            YES
     68   Dec-04   12/11/04        3            202           2          56710         17,000
     69   Dec-04   12/25/04        2            295         492          56710         17,000            YES
     70   Dec-04   12/25/04        3            209           0         133057         23,500




                                                                                                                            ANALYSIS GROUP, INC.
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 16 of 20 Page ID
                                   #:642

                                                                     Sweet v. United Parcel Service, Inc.
                                                                                    Exhibit C
                                                                Motor Carrier Act Exemption Data Analysis


                                                                                                                                         [1]
                                         PTE/GTS and Automotive Inventory System Data While Working as an On-Road Supervisor

                                                                                                                                     Vehicle Weight Greater Than or
                                        Week End         Day of       Package          Package                                         Equal to 10,001 Pounds &
                        Month            Date [2]        Week         Deliveries       Pick-Ups              Vehicle[3]                 Deliver/Pick-up Packages
                                                                                                         ID           Weight        Unique Weeks         Unique Months
             71         Dec-04           12/25/04           4              189              0          133057         23,500
             72         Jan-05           01/15/05           2              205              0           56710         17,000              YES                YES
             73         Jan-05           01/15/05           3               80              0           50404         15,000
             74         Feb-05           02/19/05           2              192            283          109950         20,000              YES                YES
             75         Feb-05           02/26/05           2               12              0           50404         15,000              YES
             76         Mar-05           03/26/05           5              290             29           58038         17,000              YES                YES
             77         Mar-05           04/02/05           2              149            126          139594         23,500              YES
             78         Apr-05           04/02/05           6              220            211          139456         23,500                                 YES
             79         May-05           05/07/05           6              183            299          109950         20,000              YES                YES
             80         May-05           05/14/05           6              240             20          103638         20,000              YES
             81         May-05           05/28/05           5              195              7           56736         17,000              YES
             82         May-05           05/28/05           6              174             16          650286         14,500
             83         Jun-05           06/04/05           4              268             39          103638         20,000              YES                YES
             84         Jun-05           07/02/05           5              182              0           58038         17,000              YES
             85         Jul-05           07/02/05           6               60            101          109912         20,000                                 YES
             86         Jul-05           07/09/05           3               19              0          109912         20,000              YES
             87         Jul-05           07/09/05           5              103              0           50404         15,000
             88         Jul-05           07/16/05           3              253             21           58038         17,000              YES
             89         Jul-05           07/16/05           4              209             53           58038         17,000
             90         Jul-05           07/23/05           3              241            198          105681         20,000              YES
             91         Jul-05           07/30/05           2               24              0           50404         15,000              YES
             92         Jul-05           07/30/05           3               20              0           50404         15,000
             93         Aug-05           08/20/05           2              260            168          139594         23,500              YES                YES
             94         Aug-05           08/27/05           5              222             10          135651         21,440              YES
             95         Sep-05           09/24/05           2              332             58          118854         21,000              YES                YES
             96         Oct-05           10/08/05           5                9              0           50404         15,000              YES                YES
             97         Oct-05           10/08/05           6              249              9          103638         20,000
             98         Oct-05           10/15/05           2              280             31          118854         21,000              YES
             99         Oct-05           10/22/05           3              529            290          133830         23,500              YES
            100         Oct-05           11/05/05           2              208            261          109950         20,000              YES
            101         Dec-05           12/10/05           3              281            500          139456         23,500              YES                YES
            102         Dec-05           12/17/05           3              165            258          139456         23,500              YES
            103         Dec-05           12/17/05           6              265             43          119444         21,000
            104         Dec-05           12/24/05           2               99              0          314448          8,000
            105         Feb-06           03/04/06           3              246             53          133180         23,500              YES                YES
            106         Mar-06           03/04/06           6              343             17          654777         16,000                                 YES
            107         Mar-06           03/11/06           2              371            200          139456         23,500              YES
            108         Jun-06           07/01/06           2              346              0          133244         23,500              YES                YES
            109         Oct-06           11/04/06           2              268              3          119440         21,000              YES                YES
            110         Oct-06           11/04/06           3              201              0          105772         20,000
            111         Nov-06           11/11/06           6              252             95          119442         21,000              YES                YES
            112         Nov-06           11/25/06           3               71              0          109967         20,000              YES
            113         Dec-06           12/23/06           4                1              0           75589          5,300
            114         Dec-06           12/23/06           5               87            315           75589          5,300
            115         Dec-06           12/23/06           7               38              0          136291         21,440              YES                YES
            116         Dec-09           01/02/10           3              111              0          654345         16,000              YES                YES
            117         Jun-10           06/19/10           6              177              0          660704         15,200              YES                YES


           Total Number of Unique Weeks/Months During Which Plaintiff Drove a Vehicle Weighing 10,001 Pounds or More
                                                                                                                                           63                 31
           and Delivered or Picked-up a Package




Notes:
[1]
    This analysis assumes the following dates of employment based on Ms. Sweet's deposition testimony: January 16, 2004 to March 15, 2006; June 16, 2006 to February 28, 2007;
and June 29, 2009 to June 30, 2010 (Period-at-Issue).
[2]
      Weeks start on Sunday and end on Saturday. Partial weeks are each counted as one week. Ms. Sweet is assumed here not to have taken any vacation.
[3]
      This analysis assumes that vehicles without available weight data weigh 10,001 pounds or more.

Sources:
UPS Equipment Detail Reports (03_Pacific Region Pkg Cars_CA Final.xls, CA_Package_Vans_2005-2007.xls, UPS_Vehicles_Over_10000 _Pounds_v1.XLS,
UPS_Vehicles_Under_10000_Pounds_v1.XLS ),
UPS_Sweet – N Sweet GTS 2009 to present.xls(65117614_1).xls,
N Sweet CRS.xls,
N Sweet GTS.xls,
Declaration of Julie Senaga, July 1, 2010, and
Deposition of Nancy Sweet, March 24, 2009.




                                                                                                                                                                   ANALYSIS GROUP, INC.
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 17 of 20 Page ID
                                   #:643




                           EXHIBIT D
 Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 18 of 20 Page ID
                                    #:644

                                             Sweet v. United Parcel Service, Inc.
                                                            Exhibit D
                              Summary of Motor Carrier Act Exemption Data Analysis
                                    Pre-Load Supervisor Employment Period




                                                                          [1], [2]
                                                       Weekly Analysis
                Total Number of Work Weeks in Period-at-Issue                                                    317


                Total Number of Unique Weeks During Which Plaintiff Drove a Vehicle Weighing
                                                                                                                  14
                10,001 Pounds or More and Delivered or Picked-up At Least One Package

                    As a Percentage of Total Number of Work Weeks in Period-at-Issue                             4%




                                                       Monthly Analysis [1], [3]
                Total Number of Months in Period-at-Issue                                                         74


                Total Number of Unique Months During Which Plaintiff Drove a Vehicle Weighing
                                                                                                                  10
                10,001 Pounds or More and Delivered or Picked-up At Least One Package

                    As a Percentage of Total Number of Months in Period-at-Issue                                 14%




Notes:
[1]
    This analysis assumes the following dates of employment based on Ms. Sweet's deposition testimony: May 6, 1999 to January
15, 2004; March 16, 2006 to June 15, 2006; and June 1, 2008 to June 28, 2009 (Period-at-Issue).
[2]
  Weeks start on Sunday and end on Saturday. Partial weeks are each counted as one week. Ms. Sweet is assumed here not to
have taken any vacation.
[3]
      Partial months are each counted as one month. Ms. Sweet is assumed here not to have taken any vacation.

Sources:
UPS Equipment Detail Reports (03_Pacific Region Pkg Cars_CA Final.xls, CA_Package_Vans_2005-2007.xls,
UPS_Vehicles_Over_10000 _Pounds_v1.XLS, UPS_Vehicles_Under_10000_Pounds_v1.XLS ),
UPS_Sweet – N Sweet GTS 2009 to present.xls(65117614_1).xls,
N Sweet CRS.xls,
N Sweet GTS.xls,
Declaration of Julie Senaga, July 1, 2010, and
Deposition of Nancy Sweet, March 24, 2009.




                                                                                                                ANALYSIS GROUP, INC.
Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 19 of 20 Page ID
                                   #:645




                           EXHIBIT E
 Case 2:09-cv-02653-DDP-RZ Document 29-11 Filed 07/02/10 Page 20 of 20 Page ID
                                    #:646

                                                                 Sweet v. United Parcel Service, Inc.
                                                                                Exhibit E
                                                            Motor Carrier Act Exemption Data Analysis


                                                                                                                                      [1]
                                    PTE/GTS and Automotive Inventory System Data While Working as an Pre-Load Supervisor

                                                                                                                                 Vehicle Weight Greater Than or
                                    Week End         Day of       Package          Package                                         Equal to 10,001 Pounds &
                    Month            Date [2]        Week         Deliveries       Pick-Ups                Vehicle[3]               Deliver/Pick-up Packages
                                                                                                      ID           Weight        Unique Weeks      Unique Months
           1        Jun-03           06/21/03          5                4               0           50404          15,000             YES                YES
           2        Jul-03           07/19/03           2              10               0          103616          20,000             YES                YES
           3        Jul-03           07/19/03           5               8               0          103616          20,000
           4        Aug-03           08/09/03          6               93               0           50404          15,000             YES                YES
           5        Aug-03           08/16/03          6               18               0          103616          20,000             YES
           6        Aug-03           08/30/03          3                5               0          75594           5,300
           7        Sep-03           10/04/03           3               6               0          103616          20,000             YES                YES
           8        Oct-03           10/18/03           2               7               0           58021          17,000             YES                YES
           9        Oct-03           10/25/03           3               8               0           58806          17,000             YES
          10        Nov-03           11/29/03          3               14               0          75594           5,300
          11        Dec-03           12/20/03           4              13               0           75594           5,300
          12        Dec-03           12/20/03           5              44               0           50404          15,000             YES                YES
          13        Dec-03           12/20/03           6              30               0           50404          15,000
          14        Dec-03           12/27/03           3             150               0           50404          15,000             YES
          15        Dec-03           01/03/04           3              13               0           75594           5,300
          16        Jan-04           01/10/04           3              12               0           50404          15,000             YES                YES
          17        Apr-06           04/08/06          2              435             142          103750          20,000             YES                YES
          18        Apr-06           04/15/06          2              219             272          119244          21,000             YES
          19        Dec-08           12/27/08          02             354              75          991157                             YES                YES
          20        Dec-08           12/27/08          03              25               0          654341          16,000
          21        Mar-09           03/21/09          02             225              19          139688          23,500             YES                YES
          22        Mar-09           03/21/09          03             255               8          139688          23,500


         Total Number of Unique Weeks/Months During Which Plaintiff Drove a Vehicle weighing 10,001 pounds or
                                                                                                                                       14                 10
         more and Delivered or Picked-up a Package




Notes:
[1]
    This analysis assumes the following dates of employment based on Ms. Sweet's deposition testimony: May 6, 1999 to January 15, 2004; March 16, 2006 to June 15, 2006; and
June 1, 2008 to June 28, 2009 (Period-at-Issue).
[2]
    Weeks start on Sunday and end on Saturday. Partial weeks are each counted as one week. Ms. Sweet is assumed here not to have taken any vacation.
[3]
    This analysis assumes that vehicles without available weight data weigh 10,001 pounds or more.

Sources:
UPS Equipment Detail Reports (03_Pacific Region Pkg Cars_CA Final.xls, CA_Package_Vans_2005-2007.xls, UPS_Vehicles_Over_10000 _Pounds_v1.XLS,
UPS_Vehicles_Under_10000_Pounds_v1.XLS ),
UPS_Sweet – N Sweet GTS 2009 to present.xls(65117614_1).xls,
N Sweet CRS.xls,
N Sweet GTS.xls,
Declaration of Julie Senaga, July 1, 2010, and
Deposition of Nancy Sweet, March 24, 2009.




                                                                                                                                                               ANALYSIS GROUP, INC.
